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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

         Timothy Jackson,

                               Plaintiff,

         v.

         Laura Wright, Milton B. Lee, Melisa
                                                    Case No. 4:21-cv-00033-ALM
         Denis, Mary Denny, Daniel Feehan,
         A.K. Mago, Carlos Munguia, and G.
         Brint Ryan, each in their official
         capacities as members of the Board of
         Regents for the University of North
         Texas System; Rachel Gain; Ellen
         Bakulina; Andrew Chung; Diego
         Cubero; Steven Friedson; Rebecca
         Dowd Geoffroy-Schwinden;
         Benjamin Graf; Frank Heidlberger;
         Bernardo Illari; Justin Lavacek;
         Peter Mondelli; Margaret Notley;
         April L. Prince; Cathy Ragland;
         Gillian Robertson; Hendrik Schulze;
         Vivek Virani; and Brian F. Wright,
         Defendants.



              RESPONSE TO DEFENDANTS' MOTION FOR PROTECTIVE ORDER

       Plaintiff hereby opposes Defendants' Motion for Protective Order. ECF No. 19.

       Defendants' Motion for Protective Order basically asks for the same relief and

incorporates by reference their sovereign immunity argument from their Motion to

Dismiss and Motion to Stay Discovery. ECF No. 8 and 18. Plaintiff therefore incorporates

by reference the factual background in his briefed opposition to Defendants' Motion to

Dismiss. See ECF No. 16 at 1-10. Plaintiff also incorporates his argument set forth in his

Response to Defendants' Motion to Stay Discovery. ECF No. 23.



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       It is difficult to understand the purpose of Defendant's Motion for Protective Order.

For one, the Court has already ordered discovery in this case, and the parties convened

their joint conference under Fed. R. Civ. P. 26(f) on April 14, 2021 in accord with the

Court's Order. ECF No. 14.

       The Court also authorized "[e]arly Rule 34 requests" as well as depositions before

the Rule 16 management conference, "so that counsel are in a position to intelligently

discuss additional required discovery, and scheduling of the case." Id., at 4-5. The Court

also directed the parties to make mandatory disclosure of "all documents, electronically

stored information, witness statements, and tangible things in the possession, custody, or

control of the disclosing party that are relevant to the claim or defense of any party." ECF

No.14 at 4 (issued April 4, 2021).

       Furthermore, Defendants present no authority for the proposition that discovery

should halt as to the Defamation Defendants simply because the State asserts a sovereign

immunity defense as to the Regents Defendants as state actors. Defendants seek more

protection through this Court than is available under Texas law.

       Independent of the discovery powers of this Court, the information sought is also

discoverable under the Texas' Public Information Act (Act). Tex. Gov't Code Ann. § 552.001

et seq. Under the Act, "[p]ublic information is any information which, under a law or

ordinance or in connection with the transaction of official business, is collected, assembled

or maintained by or for a governmental body and the governmental body owns the

information or has a right of access to it," which obviously includes public universities such

as UNT. Univ. of Tex. Rio Grande Valley v. Hernandez, No. 13-19-00180-CV, 2021 Tex. App.




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LEXIS 897, at *6 (Tex. App. Feb. 4, 2021). The State makes no argument as to why any of

the information sought should be put beyond the reach of disclosure.

         Were the Court to shut off discovery, UNT would still be required to disclose the

documents and information through other means, either in conjunction with or

independent of litigation. See Miller v. Sam Hous. State Univ., 986 F.3d 880, 892 (5th Cir.

2021) (reversible error in First Amendment lawsuit to deny discovery requests despite

pre-suit Public Information Act requests).

  I.     CONCLUSION

         For the foregoing reasons, the Court should deny Defendants' Motion for Protective

Order.

                                                   Respectfully submitted,

          DATE: April 26, 2021                     /s/Michael Thad Allen
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                               CERTIFICATE OF SERVICE

I hereby certify that on the date specified in this document, I electronically filed the
foregoing with the Clerk of Court, to be served on all parties of record via the CM/ECF
system.

                                                 /s/Michael Thad Allen
                                                 Michael Thad Allen




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